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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


E Credit Express, Inc.,                                     Case No. 1:18-cv-00783-VAC-MPT
                                          Plaintiff,
                                                            Patent Case
               v.

AutoGravity Corporation,                                    Jury Trial Demanded
                                         Defendant.




           JOINT STIPULATION AND ORDER FOR EXTENSION OF TIME

       Counsel for Plaintiff and counsel for Defendant have met and conferred regarding

extending Plaintiff’s time to respond to Defendant’s Motion to Dismiss and Opening Brief in

Support (D.I.s 7, 8), which is currently due on July 30, 2018. Subject to the Court’s approval,

the parties request the Plaintiff’s time file its response to Defendant’s Motion to Dismiss and

Opening Brief be extended thirty days up to and including August 30, 2018. Defendant’s time

to file its reply brief shall be extended to September 20, 2018.

       Counsel for Plaintiff and counsel for Defendant have also met and conferred regarding

extending Plaintiff’s time to respond to Defendant’s Answer and Counterclaims. (D.I. 9).

Subject to the Court’s approval, the parties request that Plaintiff’s time to file its response to

Defendant’s Answer and Counterclaims be extended to August 30, 2018.

       The reason for the requested extensions is to allow counsel for Plaintiff additional time

to investigate the allegations set forth in Defendant’s Motion and Counterclaims, consult with

their clients, and consider an appropriate response. No party will be prejudiced by these brief

extensions.
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Dated: July 17, 2018             Respectfully submitted,


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